              Case 1-18-44983-nhl        Doc 19     Filed 12/14/18     Entered 12/15/18 00:20:25

                                      United States Bankruptcy Court
                                      Eastern District of New York
In re:                                                                                 Case No. 18-44983-nhl
Michael A. Guarnieri,, Sr.                                                             Chapter 7
Barbara J Guarnieri
         Debtors
                                        CERTIFICATE OF NOTICE
District/off: 0207-1          User: adobson                Page 1 of 3                   Date Rcvd: Dec 12, 2018
                              Form ID: 318DF7              Total Noticed: 67


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Dec 14, 2018.
db/jdb          Michael A. Guarnieri,, Sr.,     Barbara J Guarnieri,    66 Windom Ave,
                 Staten Island, NY 10305-4720
smg            +NYC Department of Finance,     345 Adams Street,    Office of Legal Affairs,
                 Brooklyn, NY 11201-3739
smg            +NYS Unemployment Insurance,     Attn: Insolvency Unit,    Bldg. #12, Room 256,
                 Albany, NY 12240-0001
9345198         Anesthesia Care PC,    365 Plandome Rd Ste 306,     Manhasset, NY 11030-1940
9345199         Arstrat, LLC,    PO Box 33720,    Detroit, MI 48232-3720
9345205         Citi,   PO Box 6190,    Sioux Falls, SD 57117-6190
9345206         Citibank/Sears,    Centralized Bankruptcy,    PO Box 790034,    Saint Louis, MO 63179-0034
9345207         Citibank/the Home Depot,    Attn: Recovery/Centralized Bankruptcy,     PO Box 790034,
                 Saint Louis, MO 63179-0034
9345218         Costco Go Anywhere Citicard,     Citicorp Credit Services/Centralized Ban,     PO Box 790040,
                 Saint Louis, MO 63179-0040
9363046        +Credit Acceptance Corp,    P.O Box 551888,    Detroit, MI 48255-1888
9363045        +Credit Acceptance Corp,    c/o Stewart, Zlimen & Jungers, Ltd,     2860 Patton Road,
                 Roseville, MN 55113-1100
9345221        +Freedom Mortgage Corp,    10500 Kincaid Dr,     Fishers, IN 46037-9764
9382765        +Freedom Mortgage Corporation,     Gross Polowy, LLC.,    1775 Wehrle Drive, Suite 100,
                 Williamsville, New York 14221-7093
9345222         Freedom Mortgage Corporation,     Attn: Bankruptcy,    PO Box 50428,
                 Indianapolis, IN 46250-0401
9345225         Ingram & Associates,    PO Box 860102,    Minneapolis, MN 55486-0102
9345226        +Island Rehab Svcs Corp,    97 New Dorp Ln,    Staten Island, NY 10306-2359
9345227         Kia Motors Finance,    4000 Macarthur Blvd Ste,     Newport Beach, CA 92660-2558
9345228         Kia Motors Finance,    10550 Talbert Ave,    Fountain Valley, CA 92708-6031
9345232         Mount Sinai Doctors,    PO Box 28083,    New York, NY 10087-8083
9345233         Mount Sinai School of Medicine d/b/a MSM,     PO Box 5024,    New York, NY 10087-5024
9345236         NYC Water Board,    PO Box 11863,    Newark, NJ 07101-8163
9345234         New York Presbyterian Hospital,     PO Box 9305,    New York, NY 10087-2305
9345235         New York University Physician Services,     PO Box 415662,    Boston, MA 02241-5662
9345237         Ophtalmology Associates,     1460 Victory Blvd,     Staten Island, NY 10301-3914
9345238         Physicians of University Hospital,     1 Edgewater St Fl 6,    Staten Island, NY 10305-4900
9345239         Professional Claims Bureau Inc,     PO Box 9060,    Hicksville, NY 11802-9060
9345241         RTR Financial Services Inc,     2 Teleport Dr Ste 302,    Staten Island, NY 10311-1004
9345243         Staten island University Hospital,     PO Box 29772,    New York, NY 10087-9772
9345252         University Physicians Group,     PO Box 742638,    Cincinnati, OH 45274-2638
9345254         Victory Internal Medicine,     2315 Victory Blvd,    Staten Island, NY 10314-6623
9345255         Visa Dept Store National Bank/Macy’s,     Attn: Bankruptcy,    PO Box 8053,
                 Mason, OH 45040-8053
9345256         Weill Cornell Imaging,    PO Box 28371,    New York, NY 10087-8371

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
smg            +E-mail/Text: nys.dtf.bncnotice@tax.ny.gov Dec 12 2018 18:40:58
                 NYS Department of Taxation & Finance,    Bankruptcy Unit,    PO Box 5300,
                 Albany, NY 12205-0300
smg            +E-mail/Text: ustpregion02.br.ecf@usdoj.gov Dec 12 2018 18:40:19
                 Office of the United States Trustee,    Eastern District of NY (Brooklyn Office),
                 U.S. Federal Office Building,   201 Varick Street, Suite 1006,     New York, NY 10014-9449
9345197        +EDI: RMCB.COM Dec 12 2018 23:43:00     AMCA,    PO Box 1235,    Elmsford, NY 10523-0935
9345202         EDI: CAPITALONE.COM Dec 12 2018 23:44:00      Capital One,    15000 Capital One Dr,
                 Richmond, VA 23238-1119
9345201         EDI: CAPITALONE.COM Dec 12 2018 23:44:00      Capital One,    Attn: Bankruptcy,    PO Box 30285,
                 Salt Lake City, UT 84130-0285
9345203         EDI: CHASE.COM Dec 12 2018 23:44:00      Chase Card,   PO Box 15298,
                 Wilmington, DE 19850-5298
9345204         EDI: CHASE.COM Dec 12 2018 23:44:00      Chase Card Services,    Correspondence Dept,
                 PO Box 15298,   Wilmington, DE 19850-5298
9345208         EDI: WFNNB.COM Dec 12 2018 23:44:00      Comenity Bank/Avenue,    Attn: Bankruptcy Dept,
                 PO Box 182125,   Columbus, OH 43218-2125
9345209         EDI: WFNNB.COM Dec 12 2018 23:44:00      Comenity Bank/Avenue,    PO Box 182789,
                 Columbus, OH 43218-2789
9345210         EDI: WFNNB.COM Dec 12 2018 23:44:00      Comenity Bank/Lane Bryant,    Attn: Bankruptcy,
                 PO Box 182125,   Columbus, OH 43218-2125
9345211         EDI: WFNNB.COM Dec 12 2018 23:44:00      Comenity Bank/Lnbryant,    PO Box 182789,
                 Columbus, OH 43218-2789
9345212         EDI: WFNNB.COM Dec 12 2018 23:44:00      Comenity Bank/Woman Within,    Attn: Bankruptcy,
                 PO Box 182125,   Columbus, OH 43218-2125
9345213         EDI: WFNNB.COM Dec 12 2018 23:44:00      Comenity Bank/Womnwthn,    PO Box 182789,
                 Columbus, OH 43218-2789
9345214         EDI: WFNNB.COM Dec 12 2018 23:44:00      Comenity Capital/Mprc,    Attn: Bankruptcy Dept,
                 PO Box 182125,   Columbus, OH 43218-2125
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                                      Form ID: 318DF7                    Total Noticed: 67


Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center
(continued)
9345215         EDI: WFNNB.COM Dec 12 2018 23:44:00      Comenitybank/brylaneho,      PO Box 182789,
                 Columbus, OH 43218-2789
9345216         EDI: WFNNB.COM Dec 12 2018 23:44:00      Comenitybank/fllbeauty,      Attn: Bankruptcy Dept,
                 PO Box 182125,   Columbus, OH 43218-2125
9345217         EDI: WFNNB.COM Dec 12 2018 23:44:00      Comenitycb/mypointsrwd,      PO Box 182120,
                 Columbus, OH 43218-2120
9345219         EDI: CCS.COM Dec 12 2018 23:43:00      Credit collection Services,      PO Box 55126,
                 Boston, MA 02205-5126
9345220         EDI: TSYS2.COM Dec 12 2018 23:43:00      Dsnb Macys,     PO Box 8218,    Mason, OH 45040-8218
9345223         E-mail/Text: hannlegal@hannfinancial.com Dec 12 2018 18:40:16         Hann Financial Service,
                 1 Centre Dr,   Jamesburg, NJ 08831-1564
9345224         EDI: PHINHARRIS Dec 12 2018 23:44:00      Harris & Harrtis of Chicago,      111 W Jackson Blvd,
                 Chicago, IL 60604-3589
9345229         EDI: FORD.COM Dec 12 2018 23:43:00      Kia Motors Finance,     PO Box 20825,
                 Fountain Valley, CA 92728-0825
9345230         EDI: CBSKOHLS.COM Dec 12 2018 23:43:00      Kohls/Capital One,     Kohls Credit,     PO Box 3120,
                 Milwaukee, WI 53201-3120
9345231        +EDI: CBSKOHLS.COM Dec 12 2018 23:43:00      Kohls/capone,     N56 W 17000 Ridgewood Dr,
                 Menomonee Falls, WI 53051-7096
9345240         EDI: RMCB.COM Dec 12 2018 23:43:00      RMCB,    PO Box 1235,    Elmsford, NY 10523-0935
9345242         EDI: SEARS.COM Dec 12 2018 23:44:00      Sears/Cbna,     PO Box 6283,
                 Sioux Falls, SD 57117-6283
9345246         EDI: RMSC.COM Dec 12 2018 23:44:00      Syncb/Walmart,     PO Box 965024,
                 Orlando, FL 32896-5024
9345244         EDI: RMSC.COM Dec 12 2018 23:44:00      Syncb/amazon,     PO Box 965015,    Orlando, FL 32896-5015
9345245         EDI: RMSC.COM Dec 12 2018 23:44:00      Syncb/sleepys,     PO Box 965036,
                 Orlando, FL 32896-5036
9345247         EDI: RMSC.COM Dec 12 2018 23:44:00      Synchrony Bank/Amazon,     Attn: Bankruptcy Dept,
                 PO Box 965060,   Orlando, FL 32896-5060
9345248         EDI: RMSC.COM Dec 12 2018 23:44:00      Synchrony Bank/Hh Gregg,      Attn: Bankruptcy,
                 PO Box 965060,   Orlando, FL 32896-5060
9345249         EDI: RMSC.COM Dec 12 2018 23:44:00      Synchrony Bank/Walmart,     Attn: Bankruptcy Dept,
                 PO Box 965060,   Orlando, FL 32896-5060
9345250         EDI: WTRRNBANK.COM Dec 12 2018 23:44:00       Td Bank USA/Targetcred,     PO Box 673,
                 Minneapolis, MN 55440-0673
9345251         EDI: CITICORP.COM Dec 12 2018 23:44:00      Thd/Cbna,     PO Box 6497,
                 Sioux Falls, SD 57117-6497
9345253         EDI: VERIZONCOMB.COM Dec 12 2018 23:43:00       Verizon,    PO Box 15124,    Albany, NY 12212-5124
                                                                                                TOTAL: 35

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
9345200         ##Beacon Health Options Inc,   PO Box 1800,   Latham, NY 12110-0119
                                                                                                                    TOTALS: 0, * 0, ## 1

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’##’ were identified by the USPS National Change of Address system as undeliverable.                             Notices
will no longer be delivered by the USPS to these addresses; therefore, they have been bypassed. The
debtor’s attorney or pro se debtor was advised that the specified notice was undeliverable.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Dec 14, 2018                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on December 12, 2018 at the address(es) listed below:
              Alan Nisselson    anisselson@windelsmarx.com,
               theston@windelsmarx.com;mcorwin@windelsmarx.com;n159@ecfcbis.com
              Courtney R. Williams   on behalf of Creditor   Freedom Mortgage Corporation
               cwilliams@grosspolowy.com, ecfnotices@grosspolowy.com
              Kevin Zazzera    on behalf of Joint Debtor Barbara J Guarnieri kzazz007@yahoo.com
              Kevin Zazzera    on behalf of Debtor Michael A. Guarnieri,, Sr. kzazz007@yahoo.com
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                             Form ID: 318DF7             Total Noticed: 67


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
              Office of the United States Trustee   USTPRegion02.BR.ECF@usdoj.gov
                                                                                            TOTAL: 5
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Information to identify the case:
Debtor 1              Michael A. Guarnieri, Sr.                                 Social Security number or ITIN   xxx−xx−6615
                      First Name   Middle Name    Last Name                     EIN   _ _−_ _ _ _ _ _ _
Debtor 2              Barbara J Guarnieri                                       Social Security number or ITIN   xxx−xx−4566
(Spouse, if filing)
                      First Name   Middle Name    Last Name                     EIN   _ _−_ _ _ _ _ _ _
United States Bankruptcy Court Eastern District of New York

Case number: 1−18−44983−nhl



Order of Discharge and Final Decree                                                                              Revised: 12/15



IT IS ORDERED:
A discharge under 11 U.S.C. § 727 is granted to:

           Michael A. Guarnieri, Sr.                                    Barbara J Guarnieri




IT IS FURTHER ORDERED:

        • Alan Nisselson (Trustee) is discharged as trustee of the estate of the above−named debtor(s) and
          the bond is cancelled.

        • The Chapter 7 case of the above−named debtor(s) is closed.



                                                                     BY THE COURT

Dated: December 12, 2018                                             s/ Nancy Hershey Lord
                                                                     United States Bankruptcy Judge




                          SEE THE BACK OF THIS ORDER FOR IMPORTANT INFORMATION.




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                             EXPLANATION OF BANKRUPTCY DISCHARGE
                                      IN A CHAPTER 7 CASE
      This court order grants a discharge to the person(s) named as the debtor(s). It is not a dismissal of
the case and it does not determine how much money, if any, the trustee will pay to creditors.

Collection of Discharged Debts Prohibited

      The discharge prohibits any attempt to collect from the debtor(s) a debt that has been discharged.
For example, a creditor is not permitted to contact a debtor by mail, phone, or otherwise, to file or continue
a lawsuit, to attach wages or other property, or to take any other action to collect a discharged debt from
the debtor(s). A creditor who violates this order can be required to pay damages and attorney's fees to the
debtor(s).

       However, a creditor may have the right to enforce a valid lien, such as a mortgage or security
interest, against the debtor's property after the bankruptcy, if that lien was not avoided or eliminated in the
bankruptcy case. Also, a debtor may voluntarily pay any debt that has been discharged.
Debts That are Discharged
        The chapter 7 discharge order eliminates a debtor's legal obligation to pay a debt that is discharged.
Most, but not all, types of debts are discharged if the debt existed on the date the bankruptcy case was
filed. (If this case was begun under a different chapter of the Bankruptcy Code and converted to chapter 7,
the discharge applies to debts owed when the bankruptcy case was converted.)

Debts That are Not Discharged

    Some of the common types of debts which are not discharged in a chapter 7 bankruptcy case are:

    a. Debts for most taxes;

    b. Debts incurred to pay nondischargeable taxes (in a case filed on or after October 17, 2005);

    c. Debts that are domestic support obligations;

    d. Debts for most student loans;

    e. Debts for most fines, penalties, forfeitures, or criminal restitution obligations;

    f. Debts for personal injuries or death caused by the debtor's operation of a motor vehicle, vessel, or
    aircraft while intoxicated;

    g. Some debts which were not properly listed by the debtor;

    h. Debts that the bankruptcy court specifically has decided or will decide in this bankruptcy case are
    not discharged;

    i. Debts for which the debtor has given up the discharge protections by signing a reaffirmation
    agreement in compliance with the Bankruptcy Code requirements for reaffirmation of debts;

    j. Debts owed to certain pension, profit sharing, stock bonus, other retirement plans, or to the Thrift
    Savings Plan for federal employees for certain types of loans from these plans (in a case filed on or
    after October 17, 2005).

        In addition, this discharge does not stop creditors from collecting from anyone else who is also
liable on the debt, such as an insurance company or a person who cosigned or guaranteed a loan.

      This information is only a general summary of the bankruptcy discharge. There are
exceptions to these general rules. Because the law is complicated, you may want to consult an
attorney to determine the exact effect of the discharge in this case.

Official Form 318DF7             Chapter 7 Order of Discharge and Final Decree                 page 2
